                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )               No. 3:22-CR-118-01
                                              )               VARLAN/POPLIN
EDWARD KELLEY                                 )

                       JOINT MOTION TO CONTINUE MOTION
                    DEADLINE, PLEA DEADLINE, AND TRIAL DATE

       Edward Kelley, by counsel, moves the Court for a continuance of the motion deadline, plea

deadline, and trial date in this case. In support of this motion, defendant states and shows as

follows:

       1.      The Motion deadline is March 14, 2023, with responses due on March 28, 2023.

The plea deadline is May 26, 2023. The trial in this matter is currently scheduled for June 27, 2023.

       2.      Defense counsel requests additional time to allow for research and investigation to

be completed to assist in the determination as to whether or not pretrial motions should be filed.

An initial discovery disclosure was made on January 11, 2023. A supplemental discovery

disclosure was just recently received on March 8, 2023, which contains 4 terabytes of additional

information. More time is needed to review this material and to determine if any pretrial motions

are appropriate.

       Furthermore, this case overlaps with Mr. Kelley’s pending case in District of Columbia,

USA v. Kelley, 1:22-cr-408. Both of these cases are complex and time-consuming. A global

resolution is being explored but more time is requested to allow for further investigation and

negotiation amongst all of the parties involved.

       3.      The granting of the continuance should result in the delay being excluded under the

Speedy Trial Act as the ends of justice are best served by allowing counsel the additional time

necessary for effective preparation given counsel’s exercise of due diligence, as required under 18



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U.S.C. §§ 3161(h)(7)(A) and (B). Counsel cannot provide the effective assistance of counsel

otherwise. Granting the request will also allow the parties additional time to resolve the case.

       4.      The request for extension is not being made for the purposes of delay. Mr. Kelley

understands that the period of time between the filing of this motion and a rescheduled court date

will be fully excludable time for speedy trial purposes. 18 U.S.C. § 3161(h).

       5.      Counsel has communicated with counsel for the co-defendant, Austin Carter.

Counsel for Mr. Carter does not oppose and joins in the Motion.

       6.      Counsel has also communicated with Assistant U.S. Attorney Casey Arrowood,

who does not oppose the request for a continuance.

       In consideration of the foregoing, counsel for the defendant requests a continuance of the

trial date and all other associated deadlines for at least 90 days.



                                               RESPECTFULLY SUBMITTED:

                                               FEDERAL DEFENDER SERVICES OF
                                               EASTERN TENNESSEE, INC.

                                       BY:     s/ G. Nicholas Wallace
                                               G. Nicholas Wallace
                                               ASB No. 6992D56F
                                               Federal Defender Services
                                               800 South Gay Street
                                               Suite 2400
                                               Knoxville, TN 37743
                                               (865) 637-7979




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 14, 2023, a copy of the foregoing Motion to Continue was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

                                               s/ G. Nicholas Wallace




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